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FORM TO BE USED BY A PRISONER IN FILING A CIVIL RIGHTS COMPLAINT
IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
(i) Jermaine Dixon 1921-019
(Name of Plaintiff) (Inmate Number)

FCI Schuylkill P.O. Box #759
(Address) Minersville, PA. 17954

 

 

(2) | : ¢
(Name of Plaintiff) (inmate Number) : ( é ( 7 cu[T/ 6
: (Case Number)
(Address) ,;

(Each named party must be numbered,
and all names must be printed or typed)

 

 

 

 

vs. ; : CIVIL COMPLAINT
(1) United States of America. 2) R.A. :
Perdue, Warden. :

2) Ellen Mase, Clincal Director. : SCRANTON
(4) J. Simmonson, HSA. C5) David Steffan PA : '
(3) (6) McKinney, Assistance Warden : SEP 21 2017

(Names of Defendants) : 2

(Each named party must be numbered, , PE

and all names must be printed or typed) : 5

TO BE FILED UNDER: 42 U.S.C. §:1983 - STATE OFFICIALS
_ 28 U.S.C. § 1331 - FEDERAL OFFICIALS
XX 43 . .
I PREVIOUS LAWSUITS —_A~A_ (ereay § 2672-Federal Tort Claim Act,
A. If you have filed any other lawsuits in federal court while a prisoner, please list the caption and case

number including year, as well as the name of the judicial officer to whom it was assigned:

NONE

 

 

 
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I. EXHAUSTION OF ADMINISTRATIVE REMEDIES

In order to proceed in federal court, you must fully exhaust any available administrative remedies as to
each ground on which you request action.

A. Is there a prisoner grievance procedure available at your present institution? X Yes No

B. Have you fully exhausted your available administrative remedies regarding cach of your present
claims? _X Yes No

Cc. If your answer to “B” is Yes:

1. What steps did you take? BP-8, BP-9, BP-10 & Bp-11

 

2. What was the result? (BP-8 Denied) (BP-9 Denied) (BP-10 Denied)

BP-11 never answered

D. If your answer to “B” is No, explain why not:

 

 

Il, DEFENDANTS

 

 

 

 

(1) Name of first defendant: United States
Employed as at
Mailing address:

(2) Name of second defendant: R.A. Perdue
Employed as Warden at_ FOL Schuylkill

 

 

Mailing address: P.O. Box 750 Minersville, PA 17954

(3) Name of third defendant: Associate Warden: McKinney
Employedas_Asso.Warden at FCI Schuylkill
Mailing address: P.O. Box 750, Minersville, PA 17954-0754

(List any additional defendants, their employment, and addresses on extra sheets if necessary)
IV. STATEMENT OF CLAIM

(State here as briefly as possible the facts of your case. Describe how each defendant is involved, including

dates and places. Do not give any legal arguments or cite any cases or statutes. Attach no more than three
extra sheets if necessary.)

1. At all time Pro-se prisoner is still at FCI Schuylkill.

Defendant the United States of America

Defendant the United States Bureau of Prisons, (BOP).
 

 

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VDr Ellen Mace - Leibson

Employed GS Clinical director at Fe. Schuylkill

Ma ling Oddyress: PO. BOX 750 Minexsyi tle D.A 114354
DJ. Simonson

Employedas Health service Administrator at Cor. Shayla
Meuling address * PO. Boy 750 Minersville PA. 174954
6) David StefRan |
Employed as Physicians assistak at Fc. Schuy |ki! |
Mouling Address: P.O. Box 750 Muersville PA. 1743+
 

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2, Defendant R.A. Perdue is the Warden of Federal Correctional
Institution Schuylkill and was personally involved in Plain-

tiff's medical care.

3. Defendant Associate Warden McKinney is the Assoicate Warden
of Federal Correctiona; Institution Schuylkill and was person-

ally involved in Plaintiff's medical care.

V. RELIEF

1. Declare that Defendant Dr. Ellen Mace-Leibson violated Plaintiff's
Eight Amendment right to medical care.
Declare that Defendant P.A. David Steffan violated Plaintiff's 8th
Amendment right to medical care.

2. Declare that defendant United States violated Plaintiff's Eight
Amendment right when it failed to protect him from Deliberate -in-
diffence to medical needs.

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3. Award compensatory damages in the sum of $1,000,000., for Plaintiff's
physical and emotional injuries, and punitive damages against each;
and grant Plaintiff such other relief as it may appear Plaintiff is
entitiled to.

4. Defendant Dr. Ellen Mace-Leibson is the Clinical Director of Federal
Correctional Institution Schuylkill and was personally involved in
Plaintiff's medical care.

5. Defendant J. Simmonson is the Health Services Administrator-.at FCI
Schuylkill and was personally involved in Plaintiff's medical care.

6. Defendand David Steffan is a P.A. at FCI Schuylkill and was person-
ally involved in medical care.

FACTUAL ALLEGATIONS
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Plaintiff is a Federal Prisoner.incarcerated at FCI Schuylkill

in Minersville, PA 17954. In 2014 Plaintiff began experiencing
pain from a bullet that had been lodged in Petitioners leg since
the 1990's. Plaintiff asked to be sent out to a hospital to have
the bullet removed, but was told by P.A. Steffan that would not

be possible because of cost. On September 29, 2014, the bullet was
removed surgically by Dr. Mase and P.A. Steffan.

During the time period of Plaintiff's medical treatment while

under the care of BOP, including his surgery and follow-up treat~-
ment, medical staff at FCI Schuylkill and others at the institution
with authority and control. over his medical care breached the duty
they owed to Plaintiff by failing to provide Plaintiff with adequate
medical care.

After numerous trips to medical sick-call, and two BP-8's, Plaintiff
was finally called on May 18th 2015 to medical, to see Dr. Mase.

On this visit Plaintiff was seen by both Dr. Mase and P:A. Steffan.
Plaintiff explained that I could not sleep on my left side because
my leg would go numb and I could not bend my leg and it was also
swollen which caused a great deal of pain.

Plaintiff was told by Dr. Mase that it seemed as though I had ar-
thritis & sciatica, without ever once examining my leg. Which P.A.
Steffan agreed with her.

Dr. Mase ordered on this day, May 18, 2015, an X-ray of my lower
back.

After that day, I began to exeprience more pain, I did as was
suggested by Dr. Mase to apply ice and elevate my leg.

I returned to medical in June 2015, I filled out a sick-call sheet
and was toid by P.A. Steffan that I would be pleaed on the Call-Out
yet, I was never called again.

On July 7, 2015, I went to medical-Open House to see if I could be
seen while there I spoke to Assoicate Warden McKinney and explained
to her that I was in a great deal of pain and that I wasn't being

placed on the Call-Out for medicak. I showed her my leg which was
swollen.
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A.W. McKinney then went over to Dr. Mase, spoke to her which I
could not hear. After said conversation between Dr. Mase and
A.W. McKinney, Plaintiff was told by The A.W. McKinney to send
her an email.

I got back to my housing unit and did as I was told by A.W. Mc-

Kinney and sent her an email which was never answered.

On July 23rd, 2015 I again spoke to A.W. McKinney during Main-
Line; showed her my leg and told her that I was in even more

pain. And I never received an email back, she told me to send
her a reminder.

Iodid nat get a reply to my emails until August 24th, 2015.

On September 4, 2015, I again put in a BP-8 Administrative Remedy ©
which I recéived on September 24th, 2015. I was denied medical
attention by J. Simonson, HSA.

On September 24, 2025, I went to medical again; when I arrived
at medical, Plaintiff spoke with J. Simonson, he told me there

was nothing he could do for me. He said I was seen by Dr. Mase
on May 18th, 2015.

I showed him my leg which was black and blue and swollen.

I was then taken inside Steffan's office and he said "There is
nothing we can do for you. You have arthritis".

{"rolled up my pant leg showed him my leg and knee. I explained
to him that I could not bend it and I was in a lot of pain.

I told him that it was hot swollen and my calf was beginning to
atrophy.

Steffan also told me my leg and knee area where the swelléng was,

was not swollen nor was it hot and that I should continue to ICE
and take naproxen.

Steffan took out a tape measure and measured both calfs and told
me they ware the same size.

While he was telling me this, I was sitting on the examining table
P.A. Rush walked in looked at my leg and then reached over and

Squeezed the area around and above Plaintiff knee.
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A sharp pain went threw Plaintiff's leg. Plaintiff then pushed
P.A. Rush hand away because of the pain.

P.A. Rush felt both of Plaintiff's knees and told Simonson and
Steffan that my knee was hot.

He also touched the discolored side of my leg and told Steffan
that he should run test on my leg using medical terms that I
wasn't familiar with.

Simonson then ordered a Xray. While in the X-ray room I bégan to
remove my pants, Simonson said that my leg above and around my
leg looked bad. Plaintiff then asked why didn't he say that to
Steffan? He never responded.

Simonson then asked Plaintiff why Plaintiff had a scar on my leg?

Plaintiff told Simonson that there was a Rod in Plaintiff's leg.
Simonson also asked why Plaintiff didn't tell him there was a
Rod in Plaintiff's leg? Which Plaintiff replied: All of that in-
formation was in Plaintiff medical file, if he had bothered to
read it when he denied Plaintiff's BP-8 for medical attention.

After the X-ray I was taken back into the office with Steffan,
he told Simonson all I wanted was a MRI, which Plaintiff stated
that wouldn't be a bad thing considering he, P.A. Steffan didn't
know what was wrong with me.

P.A. Steffan, again told me he knew what was wrong with Plaintiff,
he told Plaintiff that it was only artheitis. And I should continue
to ICE and take naproxen. ,

P.A. Steffan, then made an appointment for Plaintiff to see Dr.
Mase on September 28th, 2015. He also gave Plaintiff a Lay-In
from Plaintiff's Prison Job assignment. . LY

On September 28th, 2015, the prison was on lock-down for bad
weather (Fog) so all call-out's were cancelled; Plaintiff was
never placed back on any call-outs for medical.

Tuesday September 29th, 2015, Plaintiff again went to medical and
was again told, I would be placed on the call-out. I then went in-
to the kitchen to try to find Simonson or any of the excutive staff,

While in the kitchen, Plaintiff ran into Simonson, showed him the swollen
leg, which he said had gotten worst. He told Plaintiff he would
leave a email for Plaintiff to be seen on October 2nd, 2015.

On Oct. 2, 2015, Plaintiff again went to medical at 6:30 Am as told
by Simonson. When Plaintiff arrived at medical, Plaintiff spoke to
the Pharmacist who told Plaintiff she was the only one there and
there was no email from Simonson concerning Plaintiff.

Plaintiff left medical in search of Simonson or excecutive staff.
Plaintiff ran into Lt. Raul who asked why I was limping. I explained
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to him I was in a lot of pain and I could barley walk. He asked to
see my leg, so Plaintiff showed him. When he saw it, he said, "It
looked really bad", touched it and continued, "Its hot too".

Lt. Raul, then called medical and told someone on the line that I
needed to be seen immediately.

Plaintiff again went to medical and was seen by Shiffman. Plaintiff
was brought into examining room was asked questions about Plaintiff's
leg. Plaintiff's temperture was taken which was normal, but the swollen
leg temperture was in the upper nineties.

Plaintiff was advised by Shiffman that Dr. Mase would be in shortly.

When Dr. Mase came in Plaintiff was advised to remove Plaintiff's
pants.

When Dr. Mase saw Plaintiff, she said, "Holy Shit!" She then felt and
squeezed around my lower thigh and knee area. Plaintiff was told by
Dr. Mase the leg would have to be lanced.

Dr. Mase then proceded to Lance the swollen area which produced the
bad smelling puss and black blood.

Plaintiff was then given antibiotics and pain pills.

On Oct 5th, 2015, Plaintiff went to medical to have bandages changed;
this procedure was done both by
 

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bandages. He told plainti€® that BheaabeColesbtC “she .
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I declare under penalty of perjury that the foregoing is true and correct.

Signed this 4-18-17 dayot _7-/5 20/7.

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